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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


 ACCURATE BUILDERS LIMITED
 LIABILITY COMPANY,
                                                                   Civil Action No. 22-04911
                  Plaintiff,
                                                                            ORDER
           v.

 RISE CONCRETE LLC, and RISE
 CONSTRUCTION INC.
                  Defendants.



John Michael Vazquez, U.S.D.J.

          For the reasons set forth in the accompanying Opinion, and for good cause shown,

          IT IS on this 27th day of March, 2023,

          ORDERED that Plaintiff’s motion for default judgment (D.E. 9) is GRANTED; and it is

further

          ORDERED that default judgment shall be entered in favor of Plaintiff and against

Defendant, jointly and severally, in the amount of $3,487,651.94 in actual damages and $33,392.28

in attorneys’ fees and costs, for a total of $3,521,044.22; and it is further

          ORDERED that Plaintiff is entitled to statutory interest from Defendants; and it is further

          ORDERED that Plaintiff may submit appropriate documentation to supplement its request

for attorneys’ fees within fourteen (14) days of this Order. If Plaintiff fails to submit its

supplemental documents within such time, Plaintiff’s request for additional attorneys’ fees will be

denied with prejudice.

                                                       __________________________
                                                       John Michael Vazquez, U.S.D.J.
